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             IN THE UNITED STATES DISTRICT COURT

                  FOR THE DISTRICT OF MONTANA

                           BILLINGS DIVISION

UNITED STATES OF AMERICA,
                                              CR 13-50-BLG-DWM
                    Plaintiff,

vs.                                           FINDINGS AND
                                              RECOMMENDATION
CHRISTIAN BAMBER,                             CONCERNING PLEA

                    Defendant.

      The Defendant, by consent, has appeared before me under Fed. R.

Crim. P. 11 and has entered a plea of guilty to Count I of the

Indictment, which charges the crime of conspiracy to possess with

intent to distribute and distribution of cocaine in violation of 21 U.S.C.

§ 846.

      After examining the Defendant under oath, the Court determined

that the guilty plea was knowingly, intelligently, and voluntarily

entered; that the Defendant fully understands his constitutional rights

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and the extent to which such rights are waived; and that the offense

charged and to which a guilty plea was entered contained each of the

essential elements of the offense.

     The Court further concludes that the Defendant had adequate

time to review the Plea Agreement with counsel, that he fully

understands each and every provision of the agreement and that all of

the statements in the Plea Agreement are true. I recommend that the

Defendant be adjudged guilty and that sentence be imposed. A

presentence report has been ordered.

     Objections to these Findings and Recommendation are waived

unless filed and served within fourteen (14) days. 28 U.S.C. §

636(b)(1)(B); Fed. R. Crim. P 59(b)(2).

     DATED this 18th day of October, 2013.



                            /S/ Carolyn S. Ostby
                            United States Magistrate Judge




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